                         Case 1:17-cv-08202-GBD Document 8 Filed 10/24/17 Page 1 of 1
AO 121 (5HY6/)
TO:

                  5HJLVWHURI&RS\ULJKWV                                                               REPORT ON THE
                   86&RS\ULJKW2IILFH                                                       FILING OR DETERMINATION OF AN
                ,QGHSHQGHQFH$YH6(                                                            ACTION OR APPEAL
                :DVKLQJWRQ'&                                                       REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                         COURT NAME AND LOCATION
        ✔ ACTION
        G                      G APPEAL                                   Southern District of New York
DOCKET NO.                          DATE FILED                            500 Pearl Street
        17-cv-8202                            10/24/2017                  New York, New York 10007-1312
PLAINTIFF                                                                             DEFENDANT
Rhinestone Jewelry Corporation                                                        Bling Jewelry, Inc.
                                                                                      Ejeweler.com LLC d/b/a overstockjeweler.com
                                                                                      Elena Castañeda

       COPYRIGHT
                                                                TITLE OF WORK                                                AUTHOR OR WORK
    REGISTRATION NO.

1 VAu 972-975                        Fancy Bridal Combs Collection # 14828                                          Rhinestone Jewelry Corporation

2 VAu 959-166                        Exquisite Bridal Combs Collection # 14396                                      Rhinestone Jewelry Corporation

3 VAu 972-975                        Fancy Bridal Combs Collection # 14827                                          Rhinestone Jewelry Corporation

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      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                       INCLUDED BY
                                             G Amendment                 G Answer               G Cross Bill             G Other Pleading
       COPYRIGHT
                                                                TITLE OF WORK                                                AUTHOR OF WORK
    REGISTRATION NO.

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3                                                                         .


    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                    WRITTEN OPINION ATTACHED                                       DATE RENDERED

            G Order            G Judgment                                     G Yes        G No

CLERK                                                            (BY) DEPUTY CLERK                                              DATE

         Ruby J. Krajick                                                      /S/ Symia James                                            10/24/2014
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